Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Northern District of Alabama
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Mission Coal Company, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          7 Sheridan Square, Suite 300
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Kingsport, Tennessee 37660
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Sullivan County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 N/A

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1



       Case 18-04177-TOM11                          Doc 1     Filed 10/14/18 Entered 10/14/18 21:19:28                             Desc Main
                                                            Document      Page 1 of 33
Debtor            Mission Coal Company, LLC                                         Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2121 (Coal Mining)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                               ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.       District                           When                      Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                 District                           When                      Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                    Relationship     Affiliate
                                                    Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                        District    Northern District of Alabama
     List all cases. If more than 1,                                                                             When             10/14/2018
     attach a separate list.                        Case number, if known _______________________                                 MM / DD / YYYY



     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2

       Case 18-04177-TOM11                    Doc 1      Filed 10/14/18 Entered 10/14/18 21:19:28                               Desc Main
                                                       Document      Page 2 of 33
Debtor           Mission Coal Company, LLC                                         Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☒     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                      ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3

      Case 18-04177-TOM11                    Doc 1       Filed 10/14/18 Entered 10/14/18 21:19:28                                   Desc Main
                                                       Document      Page 3 of 33
Debtor           Mission Coal Company, LLC                                           Case number (if known)
          Name



16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☒    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            10/14/2018
                                                              MM/ DD / YYYY


                                              /s/ Kevin Nystrom                                                  Kevin Nystrom
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Daniel D. Sparks                                           Date        10/14/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Daniel D. Sparks
                                              Printed name
                                              Christian & Small LLP
                                              Firm name
                                              505 North 20th Street, Suite 1800
                                              Number                  Street
                                              Birmingham                                                             Alabama           35203-2696
                                              City                                                                   State               ZIP Code
                                              (205) 795-6588                                                         ddsparks@csattorneys.com
                                              Contact phone                                                              Email address
                                              ASB-8526-S79D                                       Alabama
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4

      Case 18-04177-TOM11                     Doc 1       Filed 10/14/18 Entered 10/14/18 21:19:28                                   Desc Main
                                                        Document      Page 4 of 33
    Fill in this information to identify the case:

    United States Bankruptcy Court for the:
                              Northern District of Alabama
                                           (State)                                                   ☐ Check if this is an
    Case number (if known):                                  Chapter   11                                amended filing


                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Northern District of Alabama for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Mission Coal Company, LLC.

•      Mission Coal Company, LLC
•      Beard Pinnacle, LLC
•      Oak Grove Land Company, LLC
•      Oak Grove Resources, LLC
•      Pinnacle Land Company, LLC
•      Pinnacle Mining Company, LLC
•      Seminole Alabama Mining Complex, LLC
•      Seminole Coal Resources, LLC
•      Seminole West Virginia Mining Complex, LLC
•      Seneca Coal Resources, LLC
•      Seneca North American Coal, LLC




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Debtor name Mission Coal Company, LLC, et al.
UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF ALABAMA
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                12/15
A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
largest unsecured claims.

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


1   Trustees of the UMWA                                                       Union                                                                         $9,730,167.12
    Pension & Benefit
    P.O. Box 19175A
    Newark, NJ 07195




2   Michael H. Hollard et al.                                                  Litigation                                                                    $4,900,000.00
    c/o Ogletree Deakins
    Attn: John Woodrum
    1909 K St. NW
    Washington, DC 20006



3   Bluestone Coal Corporation, and                                            Litigation                                                                    $4,000,000.00
    Double-Bonus Mining Company
    c/o Hendrickson & Long, Pllc
    P.O. Box 11070
    Charleston, WV 25339




4   Natural Resource Partners                                                  Trade                                                                         $3,198,387.79
    654 Main St
    Rockwood, PA 15557




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 1




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                                                           Document      Page 6 of 33
Debtor name Mission Coal Company, LLC, et al.                                                             Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                               claim is
mailing address, including zip               email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


5   Carter Machinery Co Inc                  Henry Looney                          Trade                                                                         $2,122,561.12
    Attn: Henry Looney                       Tel: 304-683-5932
    P.O. Box 743849
    Atlanta, GA 30374-3849



6   Alabama Power Company                    Tel: 205-257-1000                     Trade                                                                         $1,953,726.97
    Remittance Processing Center
    P.O. Box 242
    Birmingham, AL 35292




7   United Central Industrial Supply         Tel: 202-693-9400                     Trade                                                                         $1,868,867.80
    Us Dept of Labor Msha
    P.O. Box 790390
    St Louis, MO 63179




8   Rockwood Casualty Insurance              Tel: 304-732-8646                     Trade                                                                         $1,652,263.00
    Company
    Rt 10 North
    P.O. Box 819
    Pineville, WV 24874



9   Sheriff of Wyoming County                                                      Government                                                                    $1,469,807.48
    P.O. Box 529
    Pineville, WV 24874




10 Joann Waid et al.                         Astrika Adams                         Litigation                                                                    $1,200,000.00
   Attn: Astrika Adams                       Email:
   ERP Compliant Fuels LLC                   Astrika.Adams@Clarkeinvestments.Com
   P.O. Box 305
   Madison, WV 25130


11 Us Dept of Treasury                       Tel: 888-710-4237                     Government                                                                    $1,187,777.58
   P.O. Box 24415
   Canton, OH 44701-4415




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                              Page 2




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                                                                 Document      Page 7 of 33
Debtor name Mission Coal Company, LLC, et al.                                                         Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


12 White & Case LLP                                                            Professional                                                                  $1,010,736.12
   1221 Ave of the Americas                                                    Services
   New York, NY 10020




13 Jimmy Baker V. Oak Grove Resources                                          Litigation                                                                    $1,000,000.00
   Matter
   c/o Richard L. Wyatt, Attorney
   2010 Lancaster Rd
   Birmingham, AL 35209


14 Webster, et al.                                                             Litigation                                                                    $1,000,000.00
   c/o Heninger, Garrison, Davis, LLC
   Attn: Jeff Leonard
   2224 1St Ave N.
   Birmingham, AL 35203




15 Anthem Blue Cross and Blue Shield                                           Trade                                                                           $838,027.31
   1717 Arch St, Suite 4010
   Philadelphia, PA 19103




16 Appalachian Power                       Tel: 304-255-0537                   Trade                                                                           $737,357.80
   367 George St
   Beckley, WV 25801




17 Surratt, et al.                                                             Litigation                                                                      $585,000.00
   c/o the Masters Law Firm
   Attn: Roger Decanio
   181 Summers St
   Charleston, WV 25301




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 3




            Case 18-04177-TOM11                     Doc 1        Filed 10/14/18 Entered 10/14/18 21:19:28                                   Desc Main
                                                               Document      Page 8 of 33
Debtor name Mission Coal Company, LLC, et al.                                                        Case No. (If known)

                                                                 (Continuation Sheet)

Name of creditor and complete                                                 Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                             claim is
mailing address, including zip            email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                         (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                              trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                              loans,                               deduction for value of collateral or setoff to
                                                                              professional                         calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction        Unsecured claim
                                                                              contracts)
                                                                                                                  partially         for value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


18 Phillips Machine Service               Tel: 304-933-8000                   Trade                                                                           $565,630.16
   400 White Oaks Blvd
   Bridgeport, WV 26330




19 Steptoe & Johnson Pllc                                                     Professional                                                                    $562,915.98
   100 Main & River Sts                                                       Services
   P.O. Box 308
   Kenova, WV 25507



20 Birmingham Terminal Railway LLC        Tel: 620-231-2230                   Trade                                                                           $549,431.46
   Attn: Jay Benedict
   P.O. Box 790343
   St Louis, MO 63179-0343




21 Grover Dunn Assistant Tax Collector                                        Trade                                                                           $512,794.46
   P.O. Box 1190
   Bessemer, AL 35021-1190




22 Jennchem LLC                           Kenny Church                        Trade                                                                           $462,462.29
   Attn: Kenny Church                     Tel: 304-294-8153
   P.O. Box 1840
   Pineville, WV 24874




23 Smith Manus                                                                Trade                                                                           $442,533.00
   P.O. Box 2446
   Mt Lake Park, MD 21550




24 Rickie Johnson Matter                                                      Litigation                                                                      $425,000.00
   c/o Hamilton, Burgess, Young &
   Pollard Pllc
   Attn: Kevin Burgess
   P.O. Box 959
   Fayetteville, WV 25840




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 4




            Case 18-04177-TOM11                    Doc 1        Filed 10/14/18 Entered 10/14/18 21:19:28                                   Desc Main
                                                              Document      Page 9 of 33
Debtor name Mission Coal Company, LLC, et al.                                                        Case No. (If known)

                                                               (Continuation Sheet)

Name of creditor and complete                                                 Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                             claim is
mailing address, including zip            email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                         (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                              trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                              loans,                               deduction for value of collateral or setoff to
                                                                              professional                         calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction        Unsecured claim
                                                                              contracts)
                                                                                                                  partially         for value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


25 White Armature Works Inc                                                   Trade                                                                           $413,450.04
   7258 Cool Springs Blvd, Suite 600
   Franklin, TN 37067




26 Custom Engineering Inc                 Tel: 304-522-5757                   Trade                                                                           $361,630.82
   5260 Irwin Rd
   Huntington, WV 25705




27 GMS Mine Repair & Maintenance          Tel: 270-664-6207                   Trade                                                                           $359,966.44
   656 Hall St
   P.O. Box 320
   Clay, KY 42404



28 GATX Rail                              Jay Leadingham                      Trade                                                                           $358,638.60
   Attn: Jay Leadingham                   Tel: 312-621-6470
   222 West Adams St
   Chicago, IL 60606




29 Quality Magnetite LLC                  Anthony Hruska                      Trade                                                                           $321,786.64
   Attn: Anthony Hruska                   Tel: 412-963-9071
   P.O. Box 603800
   Charlotte, NC 28260-3800




30 Cowin Equipment Company Inc            Scott Dyer                          Trade                                                                           $315,771.53
   Attn: Scott Dyer                       Tel: 304-453-2222
   P.O. Box 671413
   Dallas, TX 75267-1413




31 Ken & Coy Rock Inc                     Chris Walls                         Trade                                                                           $295,904.00
   Attn: Chris Walls                      Tel: 304-583-9681
   State Route 10
   Mallory, WV 25634




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 5




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                                                        Document    Page 10 of 33
Debtor name Mission Coal Company, LLC, et al.                                                          Case No. (If known)

                                                                 (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                             claim is
mailing address, including zip              email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


32 Metlife                                                                      Trade                                                                           $289,709.52
   P.O. Box 603800
   Charlotte, NC 28260-3800




33 Power Technologies                       Tel: 770-321-2500                   Trade                                                                           $289,126.51
   P.O. Box 809021
   Chicago, IL 60680




34 Bradley Arant Boult Cummings LLP         Tel: 812-354-8156                   Trade                                                                           $261,207.55
   P.O. Box 241
   Petersburg, IN 47567




35 Coal Specialty Funding, LLC                                                  Trade                                                                           $258,864.38
   Dept Ch 10579
   Palatine, IL 60055-0579




36 CRA International Inc DBA Charles                                            Trade                                                                           $254,624.87
   River
   2094 B F Buchanan Hwy
   Tazewell, VA 24651



37 Cowin & Company Inc                                                          Trade                                                                           $249,383.42
   11 Lloyd Ave, Suite 200
   Latrobe, PA 15650




38 Tazewell Mining Supply & Equipment                                           Trade                                                                           $234,237.00
   Inc
   200 Clarendon St
   Boston, MA 02116




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 6




            Case 18-04177-TOM11                      Doc 1 Filed 10/14/18 Entered 10/14/18 21:19:28                                          Desc Main
                                                          Document    Page 11 of 33
Debtor name Mission Coal Company, LLC, et al.                                                            Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                              Name, telephone number, and                             claim is
mailing address, including zip                email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


39 Berwind Land Company                       Tel: 304-346-0569                   Trade                                                                           $229,173.71
   P.O. Box 79017
   Baltimore, MD 21279-0017




40 Advantage Technology LLC                                                       Trade                                                                           $213,321.60
   950 Kanawha Blvd E
   Charleston, WV 25301




41 Blizzard Industrial Supply Co              Tel: 205-945-1300                   Trade                                                                           $208,313.07
   Mining Engineering & Contr
   301 Industrial Dr
   Birmingham, AL 35211



42 Joy Global Underground Mining LLC          Tel: 205-521-8000                   Trade                                                                           $197,809.87
   4365 Appalachian Hwy
   Pineville, WV 24874




43 AAA Mine Service Underground Inc                                               Trade                                                                           $197,089.92
   18 Mountain View Dr
   Hazard, KY 41701




44 Joy Global Conveyors Inc                   Brian Peach                         Trade                                                                           $184,265.95
   Attn: Brian Peach                          Tel: 304-525-7811
   400 High St, P.O. Box 2187
   Huntington, WV 25722



45 Pense Bros Drilling                        Tel: 800-525-7923                   Trade                                                                           $179,180.50
   P.O. Box 72
   Mount Hope, WV 25880




 Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                            Page 7




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Debtor name Mission Coal Company, LLC, et al.                                                           Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                               claim is
mailing address, including zip             email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction        Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         for value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


46 Martin And Associates                   Richard Brennan                       Trade                                                                           $178,564.89
   Attn: Richard Brennan                   Tel: 205-488-3961
   P.O. Box 10624
   Birmingham, AL 35202



47 Thompson Tractor & Equip Co             Tel: 800-547-0760                     Trade                                                                           $172,225.81
   2401 Pinson Hwy
   Birmingham, AL 35217




48 Cliffs Natural Resources Inc                                                  Litigation          Unliquidated
   c/o Young Conaway Stargatt & Taylor,
   LLP
   Rodney Square
   1000 North King St
   Wilmington, DE 19801

49 Linda Weekly, et al.                    Astrika Adams                         Litigation          Unliquidated
   Attn: Astrika Adams                     Email:
   ERP Compliant Fuels LLC                 Astrika.Adams@Clarkeinvestments.Com
   P.O. Box 305
   Madison, WV 25130




50 Alison Shepherd As Surviving Spouse,                                          Litigation          Unliquidated
   Mother, Next Friend To Minor Children
   c/o Church Brogden P.C.
   Attn: Billy L. Church
   2101 1st Ave North
   Pell City, AL 52125




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                               Page 8




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                  MINUTES OF THE MEMBERS MEETING FOR
                       MISSION COAL COMPANY, LLC
                      SENECA COAL RESOURCES, LLC
                     SEMINOLE COAL RESOURCES, LLC
                   SENECA NORTH AMERICAN COAL, LLC
                      PINNACLE LAND COMPANY, LLC
                     PINNACLE MINING COMPANY, LLC
                     OAK GROVE LAND COMPANY, LLC
             SEMINOLE WEST VIRGINIA MINING COMPLEX, LLC AND
                 SEMINOLE ALABAMA MINING COMPLEX, LLC


         A joint meeting of the Members of each of Mission Coal Company, LLC (“Mission”),
 Seneca Coal Resources, LLC (“Seneca”), Seminole Coal Resources, LLC (“Seminole”), Seneca
 North American Coal, LLC (“Seneca North American”), Pinnacle Land Company, LLC
 (“Pinnacle”), Pinnacle Mining Company, LLC (“Pinnacle Mining”), Oak Grove Land Company,
 LLC (“Oak Grove”), Seminole West Virginia Mining Complex, LLC (“Seminole WV”) and
 Seminole Alabama Mining Complex, LLC (“Seminole AL”) was held beginning at 3:00 P.M.,
 Eastern Daylight Savings Time, on Sunday, October 14, 2018, by telephone conference call.
 Mission, Seneca, Seminole, Seneca North American, Pinnacle, Pinnacle Mining, Oak Grove,
 Seminole WV and Seminole AL are hereinafter collectively referred to as the “Companies” or
 individually as a “Company” and the Members or Member, as applicable, of Mission, Seneca,
 Seminole, Pinnacle, Oak Grove, Seminole WV and Seminole AL are hereinafter collectively
 referred to as the “Members” or individually as the “Mission Members,” the “Seneca Members,”
 the “Seminole Member,” the “Seneca North American Member,” the “Pinnacle Member,” the
 “Pinnacle Mining Member,” the “Oak Grove Member,” the “Seminole WV Member” or the
 “Seminole AL Member,” respectively.

        The following Members of Mission were present and participating at the meeting:

               Iron Management II, LLC, represented by Ken McCoy
               Iron Management III, LLC, represented by Ken McCoy
               ENCECo, Inc., represented by Charles Ebetino
               Robert A. McAtee
               Mark A. Bartkoski
               Michael P. Zervos

        The following Members of Seneca were present and participating at the meeting:

               Mission Coal Company, LLC, represented by Michael P. Zervos
               Jason McCoy
               Ken McCoy

        The following Member of Seminole was present and participating at the meeting:

               Mission Coal Company, LLC, represented by Michael P. Zervos




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        The following Member of each of Pinnacle, Pinnacle Mining and Oak Grove was present
 and participating at the meeting:

               Seneca North American Coal, LLC, represented by Ken McCoy

         The following Member of Seminole WV and Seminole AL was present and participating
 at the meeting:

               Seminole Coal Resources, LLC, represented by Michael P. Zervos

        The following Member of Seneca North American was present and participating at the
 meeting:

               Seneca Coal Resources, LLC, represented by Ken McCoy

      The following persons were present and participating at the meeting at the invitation of the
 Members:

         Name                                       Title
         Gary M. Broadbent                          General Counsel, Vice President of Human
                                                    Resources, and Secretary Mission

         Stephen E. Hessler                         Kirkland & Ellis LLP

         Brad Weiland                               Kirkland & Ellis LLP

         Leon Szlezinger                            Jefferies LLC

         Kevin Nystrom                              Zolfo Cooper Management Company, LLC

        Gary M. Broadbent, General Counsel, Vice President of Human Resources, and Secretary
 at Mission, acted as Recording Secretary at the meeting.

 Opening Remarks

        Secretary Broadbent welcomed the Members and called the meeting to order. Secretary
 Broadbent indicated the meeting was called to make a decision as to Chapter 11 filings and other
 matters.

 Chapter 11 Filings

        Mr. Hessler provided an overview of the benefits and challenges associated with a
 Chapter 11 filing and the filings, agreements, appointments and retention of professionals
 associated with the process. Mr. Hessler opened up the matter for discussion amongst the
 Members and discussion ensued.

       After considerable discussion, upon motion duly made by and seconded by Mr. McCoy,
 the Members unanimously approved the following resolutions:

                                                2

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                                       CHAPTER 11 FILING

         RESOLVED, that in the judgment of the Members, it is desirable and in the best interests
 of each Company, its creditors, and other parties in interest, that each Company shall be and hereby
 is authorized to file or cause to be filed a voluntary petition for relief (such voluntary petition, and
 the voluntary petitions to be filed by certain of each Company’s affiliates, collectively,
 the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States Code,
 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
 Southern District of New York (the “Bankruptcy Court”) or other court of competent jurisdiction.

         RESOLVED, that the Chief Executive Officer, Chief Restructuring Officer, General
 Counsel, Secretary, any Vice President, or any other duly appointed officer of each Company
 (collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
 Officers be, and each of them hereby is, authorized, empowered, and directed to execute and file
 on behalf of the applicable Company all petitions, schedules, lists, and other motions, pleadings,
 papers, or documents (including the filing of financing statements), and to take any and all action
 that they deem necessary, appropriate, or desirable to obtain such relief, including, without
 limitation, any action necessary, appropriate, or desirable to maintain the ordinary course operation
 of such Company’s business.

                 APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

        RESOLVED, that in accordance with the organizational documents of each Company, the
 applicable Members hereby approve the creation of the office of Chief Restructuring Officer at
 such Company.

        RESOLVED, that Mr. Kevin Nystrom is appointed to the office of Chief Restructuring
 Officer of each Company, to hold such office until the earlier of his resignation or removal.

        RESOLVED, that the Chief Restructuring Officer of each Company shall report to the
 Chief Executive Officer of such Company.

         RESOLVED, that the Chief Restructuring Officer shall have the duties and responsibilities
 and shall provide the services as outlined in an engagement letter, and the Chief Restructuring
 Officer shall be further authorized to make decisions with respect to certain aspects of the
 management and operation of each Company’s businesses in relation to each Company’s
 restructuring initiatives as determined by the applicable Chief Executive Officer or the applicable
 boards of managers from time to time.

                               RETENTION OF PROFESSIONALS

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the law firm of Kirkland & Ellis LLP, as each Company’s co-
 counsel, to represent and assist each Company in carrying out its duties under the Bankruptcy Code
 and to take any and all actions to advance each Company’s rights and remedies, including filing
 any pleadings and conducting any potential sale process on behalf of the applicable Company;
 and, in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
 authorized, empowered and directed to execute appropriate retention agreements, pay appropriate

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 retainers, and to cause to be filed an appropriate application for authority to retain Kirkland & Ellis
 LLP in accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the law firm of Christian & Small LLP, as each Company’s
 co-counsel, to represent and assist each Company in carrying out its duties under the Bankruptcy
 Code and to take any and all actions to advance each Company’s rights and remedies, including
 filing any pleadings and conducting any potential sale process on behalf of the applicable
 Company; and, in connection therewith, each of the Authorized Officers, with power of delegation,
 is hereby authorized, empowered and directed to execute appropriate retention agreements, pay
 appropriate retainers, and to cause to be filed an appropriate application for authority to retain
 Christian & Small LLP in accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Jefferies LLC, as each Company’s investment
 banker, to represent and assist each Company in carrying out its duties under the Bankruptcy Code,
 and to take any and all actions to advance each Company’s rights and remedies; and, in connection
 therewith, each of the Authorized Officers is, with power of delegation, hereby authorized,
 empowered and directed to execute appropriate retention agreements, pay appropriate retainers,
 and to cause to be filed an appropriate application for authority to retain Jefferies LLC in
 accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Zolfo Cooper LLC, as financial advisor, to represent
 and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
 and all actions to advance each Company’s rights and remedies; and, in connection therewith, each
 of the Authorized Officers is, with power of delegation, hereby authorized, empowered and
 directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
 filed an appropriate application for authority to retain Zolfo Cooper LLC in accordance with
 applicable law.

          RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Omni Management Group, as notice, claims, and
 balloting agent and as administrative advisor to represent and assist each Company in carrying out
 its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
 rights and remedies; and, in connection therewith, each of the Authorized Officers, with power of
 delegation, is hereby authorized, empowered and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
 authority to retain Omni Management Group in accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ any other professionals to assist each Company in carrying out
 its duties under the Bankruptcy Code; and, in connection therewith, each of the Authorized
 Officers, with power of delegation, is hereby authorized, empowered and directed to execute
 appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
 application for authority to retain the services of any other professionals as necessary, appropriate,


                                                   4

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 or desirable, including (without limitation) special counsel to the extent determined necessary,
 appropriate, or desirable.

        RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
 delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
 motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
 and retain legal counsel, accountants, financial advisors, restructuring advisors, and other
 professionals and to take and perform any and all further acts and deeds that each of the Authorized
 Officers deem necessary, appropriate, or desirable in connection with each Company’s Chapter 11
 Case.

               DEBTOR-IN-POSSESSION FINANCING, CASH COLLATERAL,
                          AND ADEQUATE PROTECTION1

         RESOLVED, that in the judgment of the Members of each Company, each Company will
 receive benefits from the DIP Agreement (as defined below) and the Loans contemplated
 thereunder, and it is desirable and in the best interest of each Company that the form, terms and
 provisions of that certain (i) Senior Secured Superpriority Debtor-in-Possession Credit
 Agreement, to be dated on or about the date hereof, together with any and all exhibits, schedules
 and annexes thereto (the “DIP Agreement”), among by and among Mission, as a debtor and debtor
 in possession under Chapter 11 of the Bankruptcy Code (the “Borrower”), each of the other Loan
 Parties party thereto, each as a debtor and debtor in possession under Chapter 11 of the Bankruptcy
 Code, each Lender from time to time party thereto and Wilmington Savings Fund Society, FSB,
 as Administrative Agent, and (ii) the Loan Documents to which any or all of the Companies are a
 party, and all other documents, agreements, instruments or certificates, intellectual property
 security agreements, joinders, and consents to be executed, delivered or filed by each Company in
 connection therewith, and the transactions contemplated by the DIP Agreement and the other Loan
 Documents (in each case including, without limitation, the borrowings and other extensions of
 credit thereunder, the issuance of any letter of credit thereunder, and the guaranties, liabilities,
 obligations, security interest granted and notes issued, if any, in connection therewith) be, and
 hereby are, authorized, adopted and approved.

         RESOLVED, that the Members of each Company have determined that it is necessary and
 in the best interest of the applicable Company’s business and affairs, for such Company to execute,
 deliver and perform the DIP Agreement and the other Loan Documents under the DIP Agreement
 to which it is a party, to perform such Company’s obligations thereunder and to consummate the
 transactions contemplated thereby, including, without limitation, any borrowings, the performance
 of any guarantees and the granting of any security interests and liens, and such Company’s
 execution and delivery of, and the incurrence and performance of its obligations in connection
 with the DIP Agreement, including without limitation, the guarantee of the Obligations thereunder,
 and any other Loan Document to which it is a party, and the consummation of the transactions
 contemplated thereby or entered into in connection with the Loan Documents, including, without



 1
     Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the DIP
     Agreement (as defined herein).


                                                         5

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 limitation, any Borrowing by any Company under the Loan Documents, are hereby, in all respects,
 authorized and approved.

          RESOLVED, that each Company and each of its Authorized Officers are authorized,
 empowered and directed, in the name and on behalf of such Company, to grant security interests
 in, pledge, assign, transfer, mortgage, convey and/or deliver, as security for obligations under the
 Loan Documents, any assets now or hereafter held or belonging to such Company, and the grants
 of security interest by such Company and Liens in all of such Company’s assets and property
 constituting Collateral as collateral security for the payment of the Obligations, advances, debts or
 liabilities of the Companies, the pledges of collateral (including, without limitation, pledges of
 equity and real and personal property as collateral), the assignments, transfers, conveyances and
 mortgages of assets, the Uniform Commercial Code (the “UCC”) financing statements, and the
 guarantees of each Company, under and in connection with the Loan Documents, be and they
 hereby are, authorized, adopted and approved.

         RESOLVED, that each of the Authorized Officers of each Company is hereby authorized
 and directed to negotiate the terms of and to execute, deliver and perform the Loan Documents to
 which such Company is a party and any and all other documents, certificates, instruments, notes,
 mortgages, deeds of trust, intellectual property security agreements, joinders, consents, guarantees
 or agreements relating to or in connection with the transactions contemplated thereby in the name
 and on behalf of such Company, in the form approved, with such changes therein and
 modifications and amendments thereto as any of the Authorized Officers may in his or her sole
 discretion approve on behalf of such Company, which approval shall be conclusively evidenced
 by his or her execution thereof (such execution by any of the Authorized Officers is hereby
 authorized to be by original hardcopy, facsimile or similar instantaneous electronic transmission
 device).

        RESOLVED, that each Company will obtain benefits from the use of collateral, including
 cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
 (the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively,
 the “Secured Lenders”) party to:

        a)      that certain Credit Agreement dated as of January 31, 2018, among Mission (the
                “Prepetition First Lien Borrower”), the guarantor parties thereto, Delaware Trust
                Company, as administrative agent (the “Administrative Agent”), and each lender
                party from time to time thereto (as amended, restated, amended and restated,
                supplemented, or otherwise modified from time to time, the “Prepetition First Lien
                Agreement”); and

        b)      that certain Amended and Restated Secured Loan Agreement dated as of January
                1, 2018, among Mission, Seneca and Seminole, each as Borrower (the “Prepetition
                Second Lien Borrowers”), and Mission Coal Funding, LLC (the “Second Lien
                Lender”), (as amended, restated, amended and restated, supplemented, or otherwise
                modified from time to time, the “Prepetition Second Lien Agreement”).

        RESOLVED, that, in order to use and obtain the benefits of the Cash Collateral, and in
 accordance with section 363 of the Bankruptcy Code, each Company will provide certain adequate

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 protection to the Secured Lenders (the “Adequate Protection Obligations”), as documented in a
 proposed interim DIP order (the “Interim DIP Order”) substantially in the form presented to the
 Members on or in advance of the date hereof, with such changes, additions, and modifications
 thereto as any Authorized Officer executing the same shall approve, such approval to be
 conclusively evidenced by an Authorized Officer’s execution and delivery thereof, to be submitted
 for approval to the Bankruptcy Court.

         RESOLVED, that the form, terms, and provisions of the Interim DIP Order to which each
 Company is or will be subject, and the actions and transactions contemplated thereby be, and
 hereby are authorized, adopted, and approved, and each Authorized Officer be, and hereby is,
 authorized and empowered, in the name of and on behalf of the applicable Company, to take such
 actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
 cause the performance of, the Interim DIP Order, and such other agreements, certificates,
 instruments, receipts, petitions, motions, or other papers or documents to which such Company is
 or will be a party, including, but not limited to any security and pledge agreement or guaranty
 agreement (collectively with the Interim DIP Order, the “DIP Documents”), incur and pay or cause
 to be paid all fees and expenses and engage such persons, in connection with the foregoing
 resolutions, in accordance with the DIP Documents, and in each case, in the form or substantially
 in the form thereof presented to the respective Members of each Company on or in advance of the
 date hereof, with such changes, additions, and modifications thereto as an Authorized Officer
 executing the same shall approve, such approval to be conclusively evidenced by an Authorized
 Officer’s execution and delivery thereof.

         RESOLVED, that in order to carry out fully the intent and effectuate the purposes of the
 foregoing resolutions, each of the Authorized Officers be, and hereby are, authorized and
 empowered on behalf of the applicable Company to take all such further action including, without
 limitation, to arrange for, enter into or grant amendments, amendments and restatements,
 supplements, renewals, replacements, consolidations, substitutions, extensions and modifications
 to and waivers of any of the foregoing DIP Agreement, DIP Documents, the Loan Documents,
 agreements, instruments and other documents (the “Agreements”), and to arrange for and enter
 into supplemental agreements, instruments, certificates, joinders, consents, borrowing notices,
 hedging arrangements, financing statements and other documents, including any interest rate
 swaps, caps, collars or similar hedging agreements, relating to the transactions contemplated by
 the Agreements, and to execute, deliver and perform all such further amendments, modifications,
 waivers, supplemental agreements, instruments, notes (including any intercompany notes to which
 such Company may be a party), certificates, joinders, consents, financing statements and
 documents, including any interest rate swaps, caps, collars or similar hedging agreements as may
 be called for under or in connection with the Agreements, in the name and on behalf of such
 Company, and to pay all such fees and expenses, which shall in his or her judgment be deemed
 necessary, proper or advisable in order to perform such Company’s obligations under or in
 connection with the Agreements and the transactions contemplated thereby; and to the extent any
 such payments have been made to date, any and all such payments are hereby authorized, ratified,
 confirmed and approved in all respects.

        The Members continued their discussion regarding the Chapter 11 filing and the filings,
 agreements, appointments and retention of professionals associated with the process, and
 highlighted their importance. Questions were asked and answered and discussion ensued.

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                                            GENERAL

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
 Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
 hereby is, authorized and empowered, in the name of and on behalf of the applicable Company, to
 take or cause to be taken any and all such other and further action, and to execute, acknowledge,
 deliver, and file any and all such agreements, certificates, instruments, and other documents and
 to pay all expenses, in each case as in such Authorized Officer’s or Authorized Officers’ judgment,
 shall be necessary, appropriate, or desirable in order to fully carry out the intent and accomplish
 the purposes of the Resolutions adopted hereby.

         RESOLVED, that each Member has received sufficient notice of the actions and
 transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
 by the organizational documents of the applicable Company, or hereby waives any right to have
 received such notice.

          RESOLVED, that any and all acts, actions, and transactions relating to the matters
 contemplated by the foregoing Resolutions done in the name of and on behalf of the applicable
 Company, prior to the date of this consent on behalf of the applicable Company be, and are hereby
 in all respects are approved, confirmed and ratified as the true acts and deeds of each Company
 with the same force and effect as if each such act, transaction, agreement, or certificate had been
 specifically authorized in advance by resolution of the applicable Members.

         RESOLVED, that each of the Authorized Officers (and their designees and delegates) and
 each other partner, member, or managing member of each direct subsidiary of each Company, be
 and hereby is authorized and empowered to take all actions or to not take any action in the name
 of and on behalf of the applicable Company with respect to the transactions contemplated by these
 Resolutions hereunder as the sole shareholder, partner, member, or managing member of each
 direct subsidiary of each Company, in each case, as such Authorized Officer shall deem necessary,
 appropriate, or desirable in such Authorized Officer’s reasonable business judgment as may be
 necessary, appropriate, or desirable to effectuate the purposes of the transactions contemplated
 hereby.




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 Adjournment

       There being no further business, the Members adjourned at approximately 4:41 P.M., EDT.




                                                  ____________________________________
                                                  Recording Secretary
                                                  Gary M. Broadbent




                                              9

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               MINUTES OF THE BOARD OF MANAGERS MEETING FOR
                         MISSION COAL COMPANY, LLC
                        SENECA COAL RESOURCES, LLC
                       SEMINOLE COAL RESOURCES, LLC
                          BEARD PINNACLE, LLC AND
                         OAK GROVE RESOURCES, LLC



         A joint meeting of the Boards of Managers of each of Mission Coal Company, LLC
 (“Mission”), Seneca Coal Resources, LLC (“Seneca”), Seminole Coal Resources, LLC
 (“Seminole”), Beard Pinnacle, LLC (“Beard”) and Oak Grove Resources, LLC (“Oak Grove”) was
 held beginning at 3:00 P.M., Eastern Daylight Savings Time, on Sunday, October 14, 2018, by
 telephone conference call. Mission, Seneca, Seminole, Beard and Oak Grove are hereinafter
 collectively referred to as the “Companies” or individually as a “Company” and the Boards of
 Managers of Mission, Seneca, Seminole, Beard and Oak Grove are hereinafter collectively referred
 to as the “Boards” or individually as the “Mission Board,” the “Seneca Board” the “Seminole
 Board,” the “Beard Board,” and the “Oak Grove Board,” respectively.

        The following Managers of Mission were present and participating at the meeting:

                Ken McCoy, Chairman
                Michael P. Zervos
                Jason McCoy

        The following Managers of Seneca were present and participating at the meeting:

                Ken McCoy, Chairman
                Michael P. Zervos
                Jason McCoy

        The following Managers of Seminole were present and participating at the meeting:

                Ken McCoy, Chairman
                Michael P. Zervos
                Charles Ebetino

        The following Managers of Beard and of Oak Grove were present and participating at the
 meeting:

                Ken McCoy, Chairman
                Thomas M. Clarke
                Jason McCoy

        The following persons were present and participating at the meeting at the invitation of the
 Boards:




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          Name                                          Title
          Gary M. Broadbent                             General Counsel, Vice President of Human
                                                        Resources,         and           Secretary
                                                        Mission

          Stephen E. Hessler                            Kirkland & Ellis LLP

          Brad Weiland                                  Kirkland & Ellis LLP

          Leon Szlezinger                               Jefferies LLC

          Kevin Nystrom                                 Zolfo Cooper Management Company, LLC

        Gary M. Broadbent, General Counsel, Vice President of Human Resources, and Secretary
 at Mission, acted as Recording Secretary at the meeting.]

 Opening Remarks

        Secretary Broadbent welcomed the Managers of the Boards and called the meeting to order.
 Secretary Broadbent indicated the meeting was called to make a decision as to amended Operating
 agreements and Chapter 11 filings.

 Chapter 11 Filings

         Mr. Hessler provided an overview of the benefits and challenges associated with a Chapter
 11 filing and the filings, agreements, appointments and retention of professionals associated with
 the process. Mr. Hessler opened up the matter for discussion amongst the Managers and discussion
 ensued.

       After considerable discussion, upon motion duly made by Chairman McCoy and seconded
 by Manager Ebetino, the Managers of the Boards unanimously approved the following resolutions:

                                       CHAPTER 11 FILING

         RESOLVED, that in the judgment of the Boards, it is desirable and in the best interests of
 each Company, its creditors, and other parties in interest, that each Company shall be and hereby
 is authorized to file or cause to be filed a voluntary petition for relief (such voluntary petition, and
 the voluntary petitions to be filed by certain of each Company’s affiliates, collectively,
 the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States Code,
 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
 Southern District of New York (the “Bankruptcy Court”) or other court of competent jurisdiction.

         RESOLVED, that the Chief Executive Officer, Chief Restructuring Officer, General
 Counsel, Secretary, any Vice President, or any other duly appointed officer of each Company
 (collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
 Officers be, and each of them hereby is, authorized, empowered, and directed to execute and file
 on behalf of the applicable Company all petitions, schedules, lists, and other motions, pleadings,
 papers, or documents (including the filing of financing statements), and to take any and all action

                                                    2

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 that they deem necessary, appropriate, or desirable to obtain such relief, including, without
 limitation, any action necessary, appropriate, or desirable to maintain the ordinary course operation
 of such Company’s business.

                 APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

        RESOLVED, that in accordance with the organizational documents of each Company, the
 applicable Boards hereby approve the creation of the office of Chief Restructuring Officer at such
 Company.

        RESOLVED, that Mr. Kevin Nystrom is appointed to the office of Chief Restructuring
 Officer of each Company, to hold such office until the earlier of his resignation or removal.

        RESOLVED, that the Chief Restructuring Officer of each Company shall report to the
 Chief Executive Officer of such Company.

         RESOLVED, that the Chief Restructuring Officer shall have the duties and responsibilities
 and shall provide the services as outlined in an engagement letter, and the Chief Restructuring
 Officer shall be further authorized to make decisions with respect to certain aspects of the
 management and operation of each Company’s businesses in relation to each Company’s
 restructuring initiatives as determined by the applicable Chief Executive Officer or the applicable
 Boards from time to time.

                               RETENTION OF PROFESSIONALS

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the law firm of Kirkland & Ellis LLP, as each Company’s co-
 counsel, to represent and assist each Company in carrying out its duties under the Bankruptcy Code
 and to take any and all actions to advance each Company’s rights and remedies, including filing
 any pleadings and conducting any potential sale process on behalf of the applicable Company;
 and, in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
 authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
 retainers, and to cause to be filed an appropriate application for authority to retain Kirkland & Ellis
 LLP in accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the law firm of Christian & Small LLP, as each Company’s
 co-counsel, to represent and assist each Company in carrying out its duties under the Bankruptcy
 Code and to take any and all actions to advance each Company’s rights and remedies, including
 filing any pleadings and conducting any potential sale process on behalf of the applicable
 Company; and, in connection therewith, each of the Authorized Officers, with power of delegation,
 is hereby authorized, empowered and directed to execute appropriate retention agreements, pay
 appropriate retainers, and to cause to be filed an appropriate application for authority to retain
 Christian & Small LLP in accordance with applicable law.

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Jefferies LLC, as each Company’s investment
 banker, to represent and assist each Company in carrying out its duties under the Bankruptcy Code,

                                                   3

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 and to take any and all actions to advance each Company’s rights and remedies; and, in connection
 therewith, each of the Authorized Officers is, with power of delegation, hereby authorized,
 empowered and directed to execute appropriate retention agreements, pay appropriate retainers,
 and to cause to be filed an appropriate application for authority to retain Jefferies LLC in
 accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Zolfo Cooper LLC, as financial advisor, to represent
 and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
 and all actions to advance each Company’s rights and remedies; and, in connection therewith, each
 of the Authorized Officers is, with power of delegation, hereby authorized, empowered and
 directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
 filed an appropriate application for authority to retain Zolfo Cooper LLC in accordance with
 applicable law.

          RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ the firm of Omni Management Group, as notice, claims, and
 balloting agent and as administrative advisor to represent and assist each Company in carrying out
 its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
 rights and remedies; and, in connection therewith, each of the Authorized Officers, with power of
 delegation, is hereby authorized, empowered and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
 authority to retain Omni Management Group in accordance with applicable law.

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
 empowered and directed to employ any other professionals to assist each Company in carrying out
 its duties under the Bankruptcy Code; and, in connection therewith, each of the Authorized
 Officers, with power of delegation, is hereby authorized, empowered and directed to execute
 appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
 application for authority to retain the services of any other professionals as necessary, appropriate,
 or desirable, including (without limitation) special counsel to the extent determined necessary,
 appropriate, or desirable.

        RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
 delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
 motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
 and retain legal counsel, accountants, financial advisors, restructuring advisors, and other
 professionals and to take and perform any and all further acts and deeds that each of the Authorized
 Officers deem necessary, appropriate, or desirable in connection with each Company’s Chapter 11
 Case.




                                                   4

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               DEBTOR-IN-POSSESSION FINANCING, CASH COLLATERAL,
                          AND ADEQUATE PROTECTION1

         RESOLVED, that in the judgment of the Members of each Company, each Company will
 receive benefits from the DIP Agreement (as defined below) and the Loans contemplated
 thereunder, and it is desirable and in the best interest of each Company that the form, terms and
 provisions of that certain (i) Senior Secured Superpriority Debtor-in-Possession Credit
 Agreement, to be dated on or about the date hereof, together with any and all exhibits, schedules
 and annexes thereto (the “DIP Agreement”), among by and among Mission, as a debtor and debtor
 in possession under Chapter 11 of the Bankruptcy Code (the “Borrower”), each of the other Loan
 Parties party thereto, each as a debtor and debtor in possession under Chapter 11 of the Bankruptcy
 Code, each Lender from time to time party thereto and Wilmington Savings Fund Society, FSB,
 as Administrative Agent, and (ii) the Loan Documents to which any or all of the Companies are a
 party, and all other documents, agreements, instruments or certificates, intellectual property
 security agreements, joinders, and consents to be executed, delivered or filed by each Company in
 connection therewith, and the transactions contemplated by the DIP Agreement and the other Loan
 Documents (in each case including, without limitation, the borrowings and other extensions of
 credit thereunder, the issuance of any letter of credit thereunder, and the guaranties, liabilities,
 obligations, security interest granted and notes issued, if any, in connection therewith) be, and
 hereby are, authorized, adopted and approved.

         RESOLVED, that the Board of each Company has determined that it is necessary and in
 the best interest of the applicable Company’s business and affairs, for such Company to execute,
 deliver and perform the DIP Agreement and the other Loan Documents under the DIP Agreement
 to which it is a party, to perform such Company’s obligations thereunder and to consummate the
 transactions contemplated thereby, including, without limitation, any borrowings, the performance
 of any guarantees and the granting of any security interests and liens, and such Company’s
 execution and delivery of, and the incurrence and performance of its obligations in connection
 with the DIP Agreement, including without limitation, the guarantee of the Obligations thereunder,
 and any other Loan Document to which it is a party, and the consummation of the transactions
 contemplated thereby or entered into in connection with the Loan Documents, including, without
 limitation, any Borrowing by any Company under the Loan Documents, are hereby, in all respects,
 authorized and approved.

          RESOLVED, that each Company and each of its Authorized Officers are authorized,
 empowered and directed, in the name and on behalf of such Company, to grant security interests
 in, pledge, assign, transfer, mortgage, convey and/or deliver, as security for obligations under the
 Loan Documents, any assets now or hereafter held or belonging to such Company, and the grants
 of security interest by such Company and Liens in all of such Company’s assets and property
 constituting Collateral as collateral security for the payment of the Obligations, advances, debts or
 liabilities of the Companies, the pledges of collateral (including, without limitation, pledges of
 equity and real and personal property as collateral), the assignments, transfers, conveyances and
 mortgages of assets, the Uniform Commercial Code (the “UCC”) financing statements, and the

 1
     Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the DIP
     Agreement (as defined herein).


                                                         5

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 guarantees of each Company, under and in connection with the Loan Documents, be and they
 hereby are, authorized, adopted and approved.

         RESOLVED, that each of the Authorized Officers of each Company is hereby authorized
 and directed to negotiate the terms of and to execute, deliver and perform the Loan Documents to
 which such Company is a party and any and all other documents, certificates, instruments, notes,
 mortgages, deeds of trust, intellectual property security agreements, joinders, consents, guarantees
 or agreements relating to or in connection with the transactions contemplated thereby in the name
 and on behalf of such Company, in the form approved, with such changes therein and
 modifications and amendments thereto as any of the Authorized Officers may in his or her sole
 discretion approve on behalf of such Company, which approval shall be conclusively evidenced
 by his or her execution thereof (such execution by any of the Authorized Officers is hereby
 authorized to be by original hardcopy, facsimile or similar instantaneous electronic transmission
 device).

        RESOLVED, that each Company will obtain benefits from the use of collateral, including
 cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
 (the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively,
 the “Secured Lenders”) party to:

        a)      that certain Credit Agreement dated as of January 31, 2018, among Mission (the
                “Prepetition First Lien Borrower”), the guarantor parties thereto, Delaware Trust
                Company, as administrative agent (the “Administrative Agent”), and each lender
                party from time to time thereto (as amended, restated, amended and restated,
                supplemented, or otherwise modified from time to time, the “Prepetition First Lien
                Agreement”); and

        b)      that certain Amended and Restated Secured Loan Agreement dated as of January
                1, 2018, among Mission, Seneca and Seminole, each as Borrower (the “Prepetition
                Second Lien Borrowers”), and Mission Coal Funding, LLC (the “Second Lien
                Lender”), (as amended, restated, amended and restated, supplemented, or otherwise
                modified from time to time, the “Prepetition Second Lien Agreement”).

         RESOLVED, that, in order to use and obtain the benefits of the Cash Collateral, and in
 accordance with section 363 of the Bankruptcy Code, each Company will provide certain adequate
 protection to the Secured Lenders (the “Adequate Protection Obligations”), as documented in a
 proposed interim DIP order (the “Interim DIP Order”) substantially in the form presented to the
 Boards on or in advance of the date hereof, with such changes, additions, and modifications thereto
 as an Authorized Officer executing the same shall approve, such approval to be conclusively
 evidenced by an Authorized Officer’s execution and delivery thereof, to be submitted for approval
 to the Bankruptcy Court.

         RESOLVED, that the form, terms, and provisions of the Interim DIP Order to which each
 Company is or will be subject, and the actions and transactions contemplated thereby be, and
 hereby are authorized, adopted, and approved, and each Authorized Officer be, and hereby is,
 authorized and empowered, in the name of and on behalf of the applicable Company, to take such
 actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and

                                                  6

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 cause the performance of, the Interim DIP Order, and such other agreements, certificates,
 instruments, receipts, petitions, motions, or other papers or documents to which such Company is
 or will be a party, including, but not limited to any security and pledge agreement or guaranty
 agreement (collectively with the Interim DIP Order, the “DIP Documents”), incur and pay or cause
 to be paid all fees and expenses and engage such persons, in connection with the foregoing
 resolutions, in accordance with the DIP Documents, and in each case, in the form or substantially
 in the form thereof presented to the respective Board of each Company on or in advance of the
 date hereof, with such changes, additions, and modifications thereto as an Authorized Officer
 executing the same shall approve, such approval to be conclusively evidenced by an Authorized
 Officer’s execution and delivery thereof.

         RESOLVED, that in order to carry out fully the intent and effectuate the purposes of the
 foregoing resolutions, each of the Authorized Officers be, and hereby are, authorized and
 empowered on behalf of the applicable Company to take all such further action including, without
 limitation, to arrange for, enter into or grant amendments, amendments and restatements,
 supplements, renewals, replacements, consolidations, substitutions, extensions and modifications
 to and waivers of any of the foregoing DIP Agreement, DIP Documents, the Loan Documents,
 agreements, instruments and other documents (the “Agreements”), and to arrange for and enter
 into supplemental agreements, instruments, certificates, joinders, consents, borrowing notices,
 hedging arrangements, financing statements and other documents, including any interest rate
 swaps, caps, collars or similar hedging agreements, relating to the transactions contemplated by
 the Agreements, and to execute, deliver and perform all such further amendments, modifications,
 waivers, supplemental agreements, instruments, notes (including any intercompany notes to which
 such Company may be a party), certificates, joinders, consents, financing statements and
 documents, including any interest rate swaps, caps, collars or similar hedging agreements as may
 be called for under or in connection with the Agreements, in the name and on behalf of such
 Company, and to pay all such fees and expenses, which shall in his or her judgment be deemed
 necessary, proper or advisable in order to perform such Company’s obligations under or in
 connection with the Agreements and the transactions contemplated thereby; and to the extent any
 such payments have been made to date, any and all such payments are hereby authorized, ratified,
 confirmed and approved in all respects.

                                            GENERAL

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
 Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
 hereby is, authorized and empowered, in the name of and on behalf of the applicable Company, to
 take or cause to be taken any and all such other and further action, and to execute, acknowledge,
 deliver, and file any and all such agreements, certificates, instruments, and other documents and
 to pay all expenses, in each case as in such Authorized Officer’s or Authorized Officers’ judgment,
 shall be necessary, appropriate, or desirable in order to fully carry out the intent and accomplish
 the purposes of the Resolutions adopted hereby.

         RESOLVED, that each manager has received sufficient notice of the actions and
 transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
 by the organizational documents of the applicable Company, or hereby waives any right to have
 received such notice.

                                                 7

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          RESOLVED, that any and all acts, actions, and transactions relating to the matters
 contemplated by the foregoing Resolutions done in the name of and on behalf of the applicable
 Company, prior to the date of this consent on behalf of the applicable Company be, and are hereby
 in all respects are approved, confirmed and ratified as the true acts and deeds of each Company
 with the same force and effect as if each such act, transaction, agreement, or certificate had been
 specifically authorized in advance by resolution of the applicable Board.

         RESOLVED, that each of the Authorized Officers (and their designees and delegates) and
 each other partner, member, or managing member of each direct subsidiary of each Company, be
 and hereby is authorized and empowered to take all actions or to not take any action in the name
 of and on behalf of the applicable Company with respect to the transactions contemplated by these
 Resolutions hereunder as the sole shareholder, partner, member, or managing member of each
 direct subsidiary of each Company, in each case, as such Authorized Officer shall deem necessary,
 appropriate, or desirable in such Authorized Officer’s reasonable business judgment as may be
 necessary, appropriate, or desirable to effectuate the purposes of the transactions contemplated
 hereby.

        The Boards continued their discussion regarding the Chapter 11 filing and the filings,
 agreements, appointments and retention of professionals associated with the process, and
 highlighted their importance. Questions were asked and answered and discussion ensued.

 Adjournment

        There being no further business, the Boards adjourned at approximately 4:41 P.M., EDT.




                                                      ____________________________________
                                                      Recording Secretary
                                                      Gary M. Broadbent




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ALABAMA
                                         SOUTHERN DIVISION

                                                          )
     In re:                                               )     Chapter 11
                                                          )
     MISSION COAL COMPANY, LLC,                           )     Case No. 18-___________(___)
                                                          )
                              Debtor.                     )
                                                          )

                                    LIST OF EQUITY SECURITY HOLDERS1

                                                                                                 Percentage
          Debtor               Equity Holder                  Address of Equity Holder            of Equity
                                                                                                    Held
                                                       6801 Falls of Neuse Road, Suite 100
                          Iron Management II, LLC                                                  28.850%
                                                       Raleigh, NC 27615-5387
                                                       6801 Falls of Neuse Road, Suite 100
                         Iron Management III, LLC                                                  25.850%
                                                       Raleigh, NC 27615-5387
                                                       c/o: Mission Coal Company, LLC
                             Michael P. Zervos         7 Sheridan Square, Suite 300,               15.107%
                                                       Kingsport, Tennessee 37660
       Mission Coal                                    CWS Agency Corporation
      Company, LLC             ENECCo, Inc.            65 East State Street, Suite 1000            15.107%
                                                       Columbus OH 43215
                                                       c/o: Mission Coal Company, LLC
                               Robert McAtee           7 Sheridan Square, Suite 300,               7.553%
                                                       Kingsport, Tennessee 37660
                                                       c/o: Mission Coal Company, LLC
                               Mark Bartkoski          7 Sheridan Square, Suite 300,               4.532%
                                                       Kingsport, Tennessee 37660




 1
        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
        Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
        chapter 11 case.




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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

                                                       )
  In re:                                               )    Chapter 11
                                                       )
  MISSION COAL COMPANY, LLC,                           )    Case No. 18-___________(___)
                                                       )
                           Debtor.                     )
                                                       )

                                     CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
 following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
 class of the debtor’s equity interest:

                      Shareholder                            Approximate Percentage of Shares Held

                Iron Management II, LLC                                       28.850%
                Iron Management III, LLC                                      25.850%
                    Michael P. Zervos                                         15.107%
                      ENECCo, Inc.                                            15.107%




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   Fill in this information to identify the case and this filing:

 Debtor Name           Mission Coal Company, LLC

 United States Bankruptcy Court for the:                 Northern District of Alabama
                                                                                                 (State)
 Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Kevin Nystrom
                                         10/14/2018
                                         MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                  Kevin Nystrom
                                                                                  Printed name
                                                                                  Authorized Signatory
                                                                                  Position or relationship to debtor

Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors




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